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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF LOUISIANA


 Ashraf Khalil,
                                                     Civil Action No. 21-466-BAJ-SDJ
                  Plaintiff,
                                                     Hon. District Judge Brian A. Jackson
        v.
                                                     Hon. Magistrate Judge Scott D. Johnson
 Department of Corrections, Dustin Bickham,
 Patricia Williams,

                  Defendants.


              [PROPOSED] ORDER AMENDING THE SCHEDULING ORDER

        This matter having come before the Court upon the parties’ Joint Motion to Amend the
Scheduling Order, it is hereby ORDERED that the Scheduling Order in the above-captioned
matter is amended as follows:

             ● All parties’ initial disclosures are due by Monday, June 2, 2025;
             ● Defendants shall provide Plaintiff all medical records, administrative remedy
               proceedings, unusual occurrence reports and all other documents pertinent to the
               issues in this case by Monday, June 2, 2025;
             ● Plaintiff may amend his complaint and/or join parties without leave of the Court by
               Monday, June 23, 2025;
             ● Defendants’ answer to the operative complaint is due by Wednesday, July 23, 2025;
             ● Plaintiff’s R. 26(a)(2) (Expert) Statements (if any) are due by Monday, August 11,
               2025;
             ● Defendants’ R. 26(a)(2) (Expert) Statements (if any) are due by Monday, August
               18, 2025;
             ● All parties’ Post-R. 26(a) Discovery Requests are due by Monday, September 8,
               2025;
             ● All discovery shall be closed by Tuesday, October 14, 2025;
             ● Motions to compel (if any) are due by Monday, October 20, 2025;
             ● Summary judgment motions are due by Wednesday, November 19, 2025;
             ● Limits on the numbers of requests for discovery, requests for admission,
               interrogatories, and depositions shall be governed by the Federal Rules of Civil
               Procedure, unless the parties later agree or the Court orders otherwise, whether on
               a party’s motion or sua sponte.


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Date:

SO ORDERED:
                                                ____________________________
                                                Hon. Brian A. Jackson
                                                United States District Judge




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